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  7 Trading & Contracting, WLL and Khalid
      bin Jabor Al Thani
  8

  9                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 10

 11 Trivalley Doha Qatar dba Trivalley             Case No. 8:21-cv-1857
    Trading & Contracting, WLL, a Qatar
 12 Limited Liability Company and Khalid           Complaint for Legal Malpractice
    bin Jabor Al Thani, a citizen of Qatar,        and Breach of Fiduciary Duty
 13
                  Plaintiffs,
 14         vs.                                    Demand for Jury Trial
 15 William Levin, a California citizen;
      Steven Dicterow, a California citizen;
 16 and Levin & Dicterow, a California
      general partnership,
 17
                  Defendants.
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  1                                  NATURE OF ACTION
  2        1.     This case involves intellectual property attorneys who accepted an
  3 engagement in a corporate control contest with no prior corporate governance

  4 experience. This case involves attorneys who accepted an engagement on a straight

  5 hourly fee basis and then changed the arrangement to a purported hybrid contingent

  6 fee, albeit unenforceable, before a bifurcated trial to increase their piece of the pie to

  7 unconscionable levels. Then, shortly after a favorable ruling in the bifurcated trial,

  8 these attorneys attempted to force an even more onerous fee arrangement on their

  9 clients. Despite demands for greater compensation, these attorneys failed to respond

 10 to fact discovery, blew fact discovery deadlines, failed to respond to expert

 11 discovery, and blew expert discovery deadlines. These attorneys even secretly cut a

 12 deal with their clients’ adversaries to shift liability for discovery sanctions from

 13 them to their clients if their adversaries would not oppose their motion to withdraw

 14 as counsel. Worse, once they withdrew as counsel, these attorneys took a position

 15 in the underlying litigation directly adverse to and to the detriment of their former

 16 clients. These attorneys publicly disclosed confidential and privileged information

 17 in the underlying litigation and attempted to cut a deal with their clients’ adversaries

 18 to the detriment of their clients in order to obtain monies from their client to which

 19 the attorneys were not entitled.

 20                                     THE PARTIES
 21        2.     Plaintiff Trivalley Doha Qatar doing business as Trivalley Trading &
 22 Contracting, WLL (“Trivalley”), a limited liability company formed under the laws

 23 of the country of Qatar, and is controlled and operated by plaintiff Dr. Khalid bin

 24 Jabor Al Thani (“Dr. Khalid”), a Qatari citizen whose permanent residence is in

 25 Doha, Qatar (collectively, “Dr. Khalid and Trivalley”). Dr. Khalid is a medical

 26 doctor with no legal training.

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  1        3.     Dr. Khalid and Trivalley are not lawfully admitted for permanent
  2 residence in the United States nor domiciled in California. Trivalley has a principal

  3 place of business in Doha, Qatar.

  4        4.     Defendant William Levin is a California citizen and an individual
  5 residing in Laguna Beach, California.

  6        5.     Defendant Steven Dicterow is a California citizen and an individual
  7 residing in Laguna Beach, California.

  8        6.     Dr. Khalid is informed and believes and thereon alleges that Levin &
  9 Dicterow is a California general partnership with principal place of business in

 10 Laguna Beach, CA. (Messrs. Levin and Dicterow along with their partnership are

 11 collectively referred to as the “Attorneys.”)

 12                            JURISDICTION AND VENUE
 13        7.     This court has jurisdiction over this action pursuant to 28 U.S.C.
 14 § 1332, which confers original jurisdiction on federal district courts in all civil

 15 actions where the matter in controversy exceeds the sum of $75,000 and is between

 16 citizens of a State and citizens of a foreign state who are not lawfully admitted for

 17 permanent residence in the United States nor domiciled in California.

 18        8.     Venue is proper in the Central District of California because all
 19 defendants reside in the district and the acts and transactions complained of occurred

 20 in this district pursuant to 28 U.S.C. § 1391(b).

 21                                      TIMELINESS
 22        9.     This complaint is timely filed within all applicable limitations periods.
 23        10.    Section 340.6(a) of the California Code of Civil Procedure provides for
 24 a one-year statute of limitations for a wrongful act or omission, other than for actual

 25 fraud, arising in the performance of professional services.

 26        11.    The one-year statutory time period is tolled under the California Code
 27 of Civil Procedure while “the attorney continues to represent the client in the

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  1 specific subject matter in which the alleged wrongful act or omission occurred.” Cal.

  2 Code Civ. Proc § 340.6(a)(2).

  3        12.     On October 14, 2020, in the underlying litigation, the Orange County
  4 Superior Court signed an order granting the Attorneys permissive withdrawal as

  5 counsel of record for Dr. Khalid and Trivalley, effective upon service of the signed

  6 order on Dr. Khalid and Trivalley and filing of the proof of service of same. The

  7 signed order included important notices regarding Dr. Khalid’s and Trivalley’s

  8 rights and obligations following the withdrawal. Attorneys did not serve the signed

  9 order on Dr. Khalid and Trivalley nor did they file proof of service of the signed

 10 order from the court. A true and correct copy of the order on withdrawal is attached

 11 hereto as Exhibit A, and incorporated herein by this reference.

 12        13.     The one-year statutory time period also is tolled under the California
 13 Code of Civil Procedure “while a dispute between the lawyer and client concerning

 14 fees is pending resolution under Article 13 (commencing with Section 6200) of

 15 Chapter 4 of Division 3 of the Business and Professions Code.” Cal. Code Civ. Proc

 16 § 340.6(a)(5).

 17        14.     On February 8, 2021, within one year of the end of the Attorneys’
 18 representation, Dr. Khalid and Trivalley commenced fee arbitration under Article 13

 19 (commencing with Section 6200) of Chapter 4 of Division 3 of the Business and

 20 Professions Code.

 21        15.     As of the date of the filing of this complaint, the fee arbitration between
 22 the parties was pending within the meaning of Section 340.6(a)(5) of the California

 23 Code of Civil Procedure.

 24                              COMMON ALLEGATIONS
 25              The Underlying Litigation from October 2016 to August 2018
 26        16.     In 2014, Dr. Khalid invested the seed money for Global Discovery
 27 Biosciences Corporation (“GDBC”), a private biotechnology company. Dr. Khalid

 28 and Dr. Douglas Harrington agreed that they would be partners in GDBC, and that

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  1 Dr. Khalid’s investment would constitute a forty percent (40%) ownership stake in

  2 GDBC, the same as Dr. Harrington’s ownership stake. Dr. Khalid held his 40%

  3 ownership through Trivalley.

  4        17.   In late 2015, Najib Khoury, another shareholder of GDBC, assigned his
  5 fifteen percent (15%) stake to Dr. Khalid, raising Dr. Khalid’s ownership interest in

  6 GDBC to a total of 55%.

  7        18.   On October 4, 2016, Dr. Harrington caused GDBC to file a complaint
  8 against Dr. Khalid and Trivalley in the Orange County, California Superior Court

  9 (“Superior Court”) in an action entitled Global Discovery Biosciences Corporation

 10 v. Khalid bin Jabor Al Thani, et al., Case No. 30-2016-00878822-CU-BC-CJC (the

 11 “Underlying Litigation”) in an attempt to cancel Dr. Khalid’s and Trivalley’s stock

 12 ownership, to prevent them from exercising any ownership rights over GDBC, and

 13 to prevent Dr. Khalid and Trivalley from exercising their rights as a stockholders.

 14        19.   Dr. Khalid and Trivalley cross-claimed against GDBC and Dr.
 15 Harrington, alleging fraud and breach of fiduciary duty, seeking declaratory relief

 16 that Dr. Khalid and Trivalley were valid shareholders, and beginning a control fight

 17 over the ownership of GDBC.

 18        20.   Dr. Khalid and Trivalley originally were represented by Lloyd Charton
 19 and his partner, George Straggas, in the Underlying Litigation. In 2017, Mr.

 20 Charton passed away unexpectedly in a tragic hiking accident. Following his death,

 21 Mr. Straggas took over the Underlying Litigation.

 22        21.   On December 19, 2017, Mr. Straggas signed a stipulation between Dr.
 23 Khalid, on the one hand, and GDBC, Dr. Harrington, his wife, and his personal

 24 holding company, Ark Partner, on the other hand. Pursuant to the stipulation, the

 25 parties stipulated to a binding general reference under Section 638(a) of the Code of

 26 Civil Procedure before the Honorable Judith M. Ryan (Retired) for the resolution of

 27 the following issue by way of bifurcated trial: “Whether KHALID and/or

 28 TRIVALLEY has a valid ownership interest in shares of GDBC stock, and if so,

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  1 how many shares, including, without limitation, any shares purportedly assigned to

  2 said parties by NAJIB E. KHOURY” (the “Stipulation”).

  3        22.    On February 5, 2018, the Superior Court entered the order on the
  4 Stipulation. The general reference was subsequently set for bifurcated trial on

  5 October 16, 2018 (“Judicial Reference”).

  6        23.    Following Mr. Charton’s death, Mr. Straggas struggled to represent Dr.
  7 Khalid and Trivalley properly in the Underlying Litigation by himself. Although

  8 Mr. Straggas negotiated the Stipulation, his small firm without Mr. Charton was

  9 unable to adequately represent Dr. Khalid and Trivalley at the upcoming Judicial

 10 Reference. In or around June 2018, Mr. Straggas sought to withdraw as litigation

 11 counsel.

 12                           The Parties’ Services Agreement
 13        24.    Following Mr. Straggas’ decision to withdraw only months before the
 14 bifurcated trial to resolve the central issue of Dr. Khalid’s and Trivalley’s stock

 15 ownership, Dr. Khalid and Trivalley needed new litigation counsel that could come

 16 up to speed swiftly on the case and represent them in the bifurcated trial at the

 17 Judicial Reference.

 18        25.    Unfortunately, Dr. Khalid’s home country of Qatar was suffering a
 19 diplomatic crisis and blockade, making it extremely difficult for Dr. Khalid to travel

 20 or interview new litigation counsel.

 21        26.    At this time, Dr. Khalid entertained an offer of representation from the
 22 Attorneys, to whom Mr. Charton and Mr. Straggas had introduced him in 2017. The

 23 Attorneys claimed to have the requisite familiarity with the Underlying Litigation to

 24 take over as litigation counsel and represented that they had the expertise necessary

 25 to handle the Underlying Litigation on behalf of Dr. Khalid and Trivalley, even

 26 though the Attorneys’ practice normally was limited to intellectual property law and

 27 not litigation or corporate governance law.

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  1        27.    On or about June 5, 2018, the Attorneys began work for Dr. Khalid on
  2 the Underlying Litigation, including preparations for the Judicial Reference, without

  3 a written agreement, in violation of Section 6148 of the California Business and

  4 Professions Code.

  5        28.    From June 5, 2018 to July 30, 2018, the Attorneys billed their standard
  6 hourly rates for their work to represent Dr. Khalid and Trivalley in the Underlying

  7 Litigation.

  8        29.    On or about August 1, 2018, the Attorneys, through their law firm,
  9 Levin & Dicterow, then pressured Dr. Khalid to sign a written legal services

 10 agreement (“Services Agreement”) that changed the hourly rate into a hybrid

 11 contingent fee arrangement that benefitted the Attorneys to the detriment of Dr.

 12 Khalid.

 13        30.    The Attorneys used knowledge gained by virtue of their representation
 14 of Dr. Khalid and Trivalley to inflate the fee agreement to unconscionable

 15 proportions, including a ten percent (10%) purported contingent interest in Dr.

 16 Khalid’s and Trivalley’s stock ownership in GDBC in violation of Rule 4-200 of the

 17 California Rules of Professional Conduct.

 18        31.    Prior to the date that the Services Agreement was signed, an attorney-
 19 client relationship existed between Dr. Khalid and the Attorneys. The Services

 20 Agreement was not reviewed by independent counsel before Dr. Khalid signed nor

 21 did the attorneys admonish Dr. Khalid, in writing or orally, that he may be well

 22 served to have the document reviewed by independent counsel.

 23        32.    The Services Agreement lacked the mandatory disclosures required
 24 under Rules 3-300 (disclosing that the Attorneys’ acquisition of a contingent interest

 25 in Dr. Khalid’s and Trivalley’s stock ownership in GDBC was obtaining an interest

 26 adverse to Dr. Khalid and Trivalley) and 3-310(B)&(C) (disclosing the reasonably

 27 foreseeable adverse consequences of such an adverse interest) of the California

 28 Rules of Professional Conduct (now Rules 1.8.1, and 1.7, respectively) and under

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  1 Section 6147(a)(2) of the California Business and Professions Code (disclosing how

  2 disbursements and costs incurred in connection with the prosecution or settlement of

  3 the claim would affect the contingency fee and the client’s recovery).

  4                The Underlying Litigation from August 2018 to October 2020
  5          33.      The bifurcated trial in the Judicial Reference commenced on October
  6 16, 2018 and continued intermittently through April 2019. Judge Ryan presided

  7 over the ten-day trial and, after multiple rounds of objections, on November 20,

  8 2019, issued her Honor’s final findings and determinations on the issue of Dr.

  9 Khalid’s and Trivalley’s ownership of GDBC in a Second Amended Statement of

 10 Decision (“SASOD”). The SASOD found and determined that Dr. Khalid’s and

 11 Trivalley’s ownership interest equaled fifty-five percent (55%) of the total number

 12 of shares of GDBC. The SASOD resolved some, but not all, of the claims in the

 13 Underlying Litigation. The remaining claims would be decided by the Superior

 14 Court.

 15          34.     Shortly after the favorable ruling in the bifurcated trial, the Attorneys
 16 began pressuring Dr. Khalid to amend the Services Agreement to inflate their

 17 contingency fee to even more egregious proportions for no additional consideration.

 18          35.     The proposed amendment also lacked disclosures required under Rules
 19 3-300 and 3-310(B)&(C) of the California Rules of Professional Conduct (now

 20 Rules 1.8.1 and 1.7, respectively), or any disclosures whatsoever required to protect

 21 Dr. Khalid and Trivalley. The proposed amendment was not reviewed by

 22 independent counsel. The proposed amendment to the Services Agreement was

 23 never signed by Dr. Khalid.

 24          36.     From January 2020 through October 2020, the Attorneys did less than
 25 the bare minimum required to sustain Dr. Khalid’s and Trivalley’s case and

 26 performed no further substantive work on the Underlying Litigation, even declining

 27 to file a reply brief in support of a pending motion for judgment. Although the

 28 Attorneys performed no further substantive work, they continued to bill substantial

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  1 amounts of time for corresponding with Dr. Khalid regarding discovery that the

  2 Attorneys did not complete, drafting discovery responses that the Attorneys did not

  3 serve, drafting a reply brief that the Attorneys did not file, as well as billing

  4 secretarial tasks at the Attorneys’ full hourly rate.

  5        37.    Due to the COVID-19 pandemic, the Superior Court closed for several
  6 months in 2020. During this time, the Attorneys failed to follow up on outstanding

  7 discovery, including demands for corporate books and records from GDBC,

  8 deadlines for fact and expert discovery, and outstanding supplemental discovery.

  9                               The Attorneys’ Withdrawal
 10        38.    On August 20, 2020, after representing Dr. Khalid and Trivalley for
 11 two years, the Attorneys filed a request for permissive withdrawal as counsel of

 12 record. In their request, the Attorneys finally admitted that they “lack[ed] the

 13 resources and expertise to represent [Dr. Khalid and Trivalley] adequately.” The

 14 motion to be relieved was scheduled for hearing on December 3, 2020.

 15        39.    Two weeks later, on September 4, 2020, GDBC took advantage of the
 16 Attorneys’ imminent departure and filed four motions to compel and requests for

 17 sanctions due to the Attorneys’ failure to provide substantive supplemental

 18 discovery responses. On September 21, 2020, the Attorneys filed a single, five-

 19 page, non-substantive opposition to all four motions to compel, requesting only a

 20 short continuance of the motion to compel hearing. The Attorneys spent the

 21 majority of their brief publicly airing privileged and sensitive information about

 22 their representation of Dr. Khalid and Trivalley, including confidential

 23 communications involving Dr. Khalid, the terms of the Attorneys’ engagement with

 24 Dr. Khalid and Trivalley, unfounded legal conclusions about Dr. Khalid’s and

 25 Trivalley’s case based on information that the Attorneys’ gained by virtue of their

 26 representation of Dr. Khalid, and efforts of the Attorneys to convince Dr. Khalid to

 27 agree to a new engagement agreement. The Attorneys’ disclosures breached their

 28 duty of confidentiality generally and under Sections 6068(e) and 6149 of the

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   1 Business & Professions Code and Rule 3-100(A) of the Rules of Professional

   2 Conduct (now Rule 1.6).

   3        40.    Dr. Khalid and Trivalley subsequently learned that, prior to filing their
   4 motion to be relieved as counsel of record, the Attorneys secretly negotiated a self-

   5 serving deal with GDBC’s counsel to shift any sanctions award for the motions to

   6 compel from them to Dr. Khalid. Specifically, in violation of their duties of loyalty

   7 and candor, if the Attorneys agreed to promptly file their motion to withdraw,

   8 GDBC would seek sanctions against Dr. Khalid only, and not against the Attorneys.

   9        41.    On September 10, 2020, GDBC served an expert witness demand under
  10 Section 2034.210 of the California Code of Civil Procedure. The Attorneys did not

  11 calendar this expert designation deadline, did not designate any experts, and did not

  12 reserve the right to designate supplemental experts when the expert designations

  13 were due.

  14        42.    On October 13, 2020, GDBC served expert witness designations under
  15 Section 2034.260 of the California Code of Civil Procedure.

  16        43.    On October 14, 2020, in the underlying litigation, the Superior Court
  17 signed the order granting the Attorneys permissive withdrawal as counsel of record

  18 for Dr. Khalid and Trivalley, effective upon service of the signed order on Dr.

  19 Khalid and Trivalley and the filing of the proof of service of same. The signed

  20 order included important notices regarding Dr. Khalid’s and Trivalley’s rights and

  21 obligations following the withdrawal. Attorneys did not serve the signed order on

  22 Dr. Khalid and Trivalley, and did not file a proof of service with the court.

  23        44.    Upon their withdrawal, and despite Rule 3-700(A)(2) and their
  24 obligation to avoid prejudicing their client, the Attorneys failed to provide Dr.

  25 Khalid and Trivalley with a detailed list and explanation of upcoming deadlines in

  26 the Litigation.

  27        45.    On October 28, 2020, Dr. Khalid’s and Trivalley’s new counsel
  28 appeared in the Underlying Litigation. The Attorneys never advised new counsel

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   1 that expert demands and designations had been exchanged, that the Attorneys had

   2 not designated experts, or that the Attorneys had not reserved Dr. Khalid’s and

   3 Trivalley’s rights to designate supplemental experts.

   4        46.    Over the following weeks, new counsel spent considerable time
   5 attempting to obtain missing and unaccounted for files and correspondence from the

   6 Attorneys, many of which were contained only in the Attorneys’ emails. The

   7 Attorneys did not calendar upcoming deadlines and did not advise new counsel of

   8 upcoming deadlines, despite repeated requests. Eventually, the Attorneys provided

   9 a “dump” of uncategorized emails, which then needed to be reviewed to piece

  10 together what had been done, what had not been done, and what needed to be done

  11 in the Underlying Litigation.

  12        47.    Over the following months, new counsel spent significant time
  13 attempting to fix the Attorneys’ errors.

  14                                    The Notice of Lien
  15        48.    On February 18, 2021, shortly before the scheduled second half of the
  16 bifurcated trial, the Attorneys filed a notice of lien in the Underlying Litigation,

  17 which gratuitously and improperly disclosed the confidential material terms of the

  18 Services Agreement, including a purported contingent interest claim to ten percent

  19 (10%) of any stock ownership awarded in favor of Dr. Khalid and Trivalley

  20 (“Notice of Lien”), a true and correct copy of which is attached hereto as Exhibit B,

  21 and incorporated herein by this reference.

  22        49.    The Attorneys’ purported contingent interest never was enforceable.
  23 Moreover, the Attorneys forfeited any contingent interest by permissively

  24 withdrawing from the Underlying Litigation.

  25        50.    The Attorneys’ disclosure of the contents of the Services Agreement
  26 breached their duty of confidentiality generally and under Sections 6068(e) and

  27 6149 of the Business & Professions Code and Rule 3-100(A) of the Rules of

  28 Professional Conduct (now Rule 1.6).

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   1         51.    The Attorneys knew the detrimental impact the purported contingent
   2 interest claim in the Notice of Lien would have on Dr. Khalid’s and Trivalley’s

   3 claims related to his controlling 55% interest in GDBC.

   4         52.    The Attorneys filed the Notice of Lien to solicit interest from Dr.
   5 Harrington in purchasing the Attorneys’ purported contingent interest in Dr.

   6 Khalid’s and Trivalley’s stock.

   7         53.    The Notice of Lien had its intended effect. On or about March 1, 2021,
   8 the Attorneys took a position directly adverse to the interests of Dr. Khalid and

   9 Trivalley in the Underlying Litigation. The Attorneys entered negotiations with Dr.

  10 Harrington to sell the Attorneys’ purported contingent interest in Dr. Khalid’s and

  11 Trivalley’s stock to Dr. Harrington. If the Attorneys sold their purported interest to

  12 Dr. Harrington, it would have allowed Dr. Harrington to argue that Dr. Khalid and

  13 Trivalley did not possess a controlling interest in GDBC, even though the purported

  14 contingent interest was unenforceable.

  15         54.    The Attorneys threatened Dr. Khalid with the proposed sale to force
  16 him to purchase the claim and preserve his other legal claims. Even though the

  17 purported contingent interest was unenforceable, Dr. Khalid could not risk the

  18 confusion and delay this sale would cause, so, he capitulated.

  19                                        COUNT I
  20
                                    LEGAL MALPRACTICE
                                     (Against All Defendants)
  21
             55.    Dr. Khalid and Trivalley hereby incorporate by reference paragraphs 1
  22
       through 54, above.
  23
             56.    On June 5, 2018, the Attorneys began to provide legal services on an
  24
       hourly basis to Dr. Khalid and Trivalley, albeit without a signed, written agreement,
  25
       thereby establishing an attorney-client relationship between the parties.
  26
             57.    On August 1, 2018, Dr. Khalid signed the Services Agreement. The
  27
       Services Agreement was never reviewed by independent counsel.
  28

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   1        58.      As Dr. Khalid’s and Trivalley’s counsel in the Underlying Litigation,
   2 the Attorneys owed a duty of care to use such skill, prudence, and diligence as

   3 members of their profession commonly possess and exercise.

   4        59.      The Attorneys breached their duty of care as follows, among other acts
   5 of malpractice:

   6               failing to adequately respond to discovery;
   7               failing to track discovery deadlines;
   8               failing to competently oppose discovery motions;
   9               failing to retain and designate expert witnesses;
  10               failing to follow up on outstanding discovery requests, including
  11                 compelling the production of GDBC corporate documents; and
  12               failing to adequately maintain client files in a reasonably useable form.
  13        60.      The negligent acts and omissions of the Attorneys were below the
  14 minimum standard of care for comparable attorneys who practice in this community,

  15 especially litigation attorneys and proximately caused harm to Dr. Khalid and

  16 Trivalley.

  17        61.      Because of the Attorneys’ negligence, the Attorneys have been paid an
  18 amount far in excess of the actual value of their services. Their negligent errors

  19 during the course of their representation have rendered their services worthless.

  20        62.      Dr. Khalid and Trivalley have been damaged, at a minimum, in the
  21 amount of attorneys’ fees paid to have competent counsel attempt to remedy and fix

  22 the Attorneys’ negligent errors.

  23        63.      As a direct and proximate result of the Attorneys’ incompetence and
  24 professional negligence, Dr. Khalid and Trivalley have suffered damages in an

  25 amount to be proved at trial, but not less than $550,000.

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   1                                       COUNT II
   2
                                  BREACH OF FIDUCIARY DUTY
                                     (Against All Defendants)
   3
             64.      Dr. Khalid and Trivalley hereby incorporate by reference paragraphs 1
   4
       through 54, above.
   5
             65.      A client's retention of an attorney or law firm gives rise to a fiduciary
   6
       relationship between the parties. The scope of an attorney's fiduciary obligations is
   7
       determined as a matter of law based on the California Rules of Professional
   8
       Conduct, together with other statutes and general principles relating to fiduciary
   9
       relationships. These fiduciary duties include duties of care, loyalty, and candor and
  10
       an obligation to keep the client’s confidences inviolate under Sections 6068(e) and
  11
       6149 of the California Business & Professions Code and Rule 3-100(A) of the
  12
       California Code of Professional Conduct (now Rule 1.6).
  13
             66.      In breach of their fiduciary duties and professional responsibilities to
  14
       Dr. Khalid and Trivalley, the Attorneys committed the following wrongful acts and
  15
       omissions, among others:
  16
                    materially changing the terms of the parties’ engagement after the
  17
                      commencement of an attorney-client relationship;
  18
                    attempting to pressure Dr. Khalid to amend the Services Agreement to
  19
                      even more unconscionable terms without consideration;
  20
                    refusing to fully perform their duties to conduct discovery;
  21
                    refusing to keep a case calendar or track discovery after filing their
  22
                      motion to withdraw;
  23
                    refusing to adequately maintain client files after filing their motion to
  24
                      withdraw;
  25
                    engaging in self-serving agreements with opposing counsel to avoid
  26
                      sanctions at Dr. Khalid’s expense;
  27

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   1               taking a position in the underlying litigation directly adverse to and to
   2                 the detriment of Dr. Khalid and Trivalley by negotiating with Dr.
   3                 Khalid’s adversaries using knowledge gained during the Attorneys’
   4                 representation of in the Underlying Litigation;
   5               taking positions directly adverse to Dr. Khalid and Trivalley in the
   6                 Underlying Litigation by attempting to sell their purported contingent
   7                 interest to Dr. Khalid’s adversaries;
   8               disclosing confidential and privileged information in the Notice of Lien
   9                 without the informed written consent of Dr. Khalid;
  10               failing to make mandatory disclosures under Rules 3-300 and 3-310 of
  11                 the California Rules of Professional Conduct (now Rules 1.8.1 and 1.7,
  12                 respectively);
  13               failing to make mandatory disclosures under Section 6147 of the
  14                 California Rules of Professional Conduct;
  15               engaging in unconscionable and unreasonable billing practices,
  16                 including billing Dr. Khalid and Trivalley for secretarial work at
  17                 partner rates, billing Dr. Khalid for more than 24 hours in a single day
  18                 by a single attorney, and billing Dr. Khalid for time the Attorneys spent
  19                 engaging with their personal collections counsel; and
  20               pressuring Dr. Khalid to purchase their purported and unenforceable
  21                 contingency fee claims to mitigate material harm to Dr. Khalid.
  22        67.      The Attorneys also owed a duty to Dr. Khalid and Trivalley to comply
  23 with Rule 4-200 of the Rules of Professional Conduct (now Rule 1.6) not to enter

  24 into an agreement for, charge, or collect an unconscionable fee. The Attorneys

  25 breached their fiduciary duties to Dr. Khalid and Trivalley by: (a) modifying their

  26 fee agreement with Dr. Khalid and Trivalley after the establishment of an attorney-

  27 client relationship with undue influence, inadequate consideration, and without the

  28 mandatory disclosures of Rule 3-300 of the California Rules of Professional

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   1 Conduct, and (b) pressuring Dr. Khalid to amend the Services Agreement to even

   2 more unconscionable terms without any consideration or disclosures.

   3        68.      As a direct and proximate result of the Attorneys’ various fiduciary
   4 breaches, Dr. Khalid and Trivalley have suffered damages in an amount to be

   5 proved at trial, but not less than $350,000.

   6                                 PRAYER FOR RELIEF
   7        Dr. Khalid and Trivalley respectfully request that this Court grant the
   8 following relief:

   9              1) For a declaration that Dr. Khalid and Trivalley owe no further fees,
  10                 contingency or otherwise, to the Attorneys;
  11              2) For compensatory damages for the acts complained of herein, in an
  12                 amount to be proven at trial;
  13              3) For special damages as permitted by law;
  14              4) For disgorgement of all fees and other monies paid to the Attorneys by
  15                 or on behalf of Dr. Khalid and Trivalley;
  16              5) For pre- and post-judgment interest as permitted by law; and
  17              6) For such other relief as the Court deems necessary and proper.
  18

  19 Dated: November 10, 2021               Ellenoff Grossman & Schole LLP
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  21                                        By:         /s/ Eric Landau
  22                                              Eric Landau
                                                  Attorneys for plaintiffs
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   1                            DEMAND FOR JURY TRIAL
   2        Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Rule 3-6 of
   3 the Local Rules of the Central District of California, Dr. Khalid and Trivalley

   4 hereby demand a jury trial on all issues so triable.

   5

   6 Dated: November 10, 2021              Ellenoff Grossman & Schole LLP
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   8                                       By:         /s/ Eric Landau
   9                                             Eric Landau
                                                 Attorneys for plaintiffs
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